23 F.3d 403NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Kevin Maurice SHORTER, Petitioner Appellant,v.Sewall B. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents Appellees.
    No. 93-6883.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 22, 1994.Decided April 29, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore, Frederic N. Smalkin, District Judge.  (CA-93-1431-S)
      Kevin Maurice Shorter, appellant pro se.
      Diane Elizabeth Keller, Asst. Atty. Gen., Baltimore, MD, for appellees.
      D.Md.
      AFFIRMED.
      Before MURNAGHAN and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Shorter v. Smith, No. CA-93-1431-S (D. Md. Aug. 9, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    